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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

SHARDE HARVEY, D.D.S., PLLC,
                               Plaintiff,
                                            20 Civ. 3350 (PGG)
                 —against—

SENTINEL INSURANCE COMPANY, LTD.,
                         Defendant.




           DEFENDANT SENTINEL INSURANCE COMPANY, LTD.’S
       RESPONSE TO PLAINTIFF’S OBJECTIONS TO MAGISTRATE JUDGE
            LEHERBURGER’S REPORT AND RECOMMENDATION
         THAT THE COURT GRANT SENTINEL’S MOTION TO DISMISS




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                                       INTRODUCTION

       Magistrate Judge Lehrburger issued a thorough and well-reasoned report and

recommendation urging that this insurance coverage case be dismissed, see Sharde Harvey,

DDS, PLLC v. Sentinel Insurance Company, Ltd., 20-cv-3350, 2021 WL 1034259 (S.D.N.Y.

Mar. 18, 2021), and this Court should uphold that recommendation.

       The plaintiff (“Sharde Harvey”) is a dental practice that claims its business interruption

losses from the COVID 19 pandemic are covered under a property insurance policy with

defendant Sentinel Insurance Company Ltd. (“Sentinel”). The underlying policy covers only

“direct physical loss” or “physical damage” to property, but no particular property at the

premises is alleged to have been damaged or lost. Instead, Sharde Harvey argues that various

governmental orders, and the pandemic more generally, have caused a slowdown in its business.

New York law is clear that this is not covered. All fifteen New York decisions to have addressed

the question (including Judge Lehrburger’s report and recommendation) have agreed, and with

good reason. The terms “direct” and “physical” limit coverage to events that cause a tangible

change in property at the premises, and cannot be stretched to encompass operational losses from

external factors, such as government orders or the economic effects of the COVID-19 pandemic.

       This conclusion is further confirmed by language in the policy stating that the coverage at

issue ends after the time period when the property should be “repaired” or “replaced”—meaning

that coverage is triggered in the first place only when property has suffered the sort of damage or

loss requiring repairing or replacing. No such loss or damage is alleged.

       Sharde Harvey has objected to Judge Lehrburger’s report and recommendation, but its

various arguments are all meritless.

       First, Sharde Harvey cites to outlier decisions that are inconsistent with the uniform

COVD-19 case law in New York and with the overwhelming trend nationwide.
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       Second, Sharde Harvey tries but fails to distinguish the seminal New York case on

“direct physical loss,” Roundabout Theatre Co. v Continental Casualty Co., 751 N.Y.S.2d 4 (1st

Dep’t 2002). Roundabout held that restrictions on the use of property from governmental orders

do not amount to “direct physical loss,” and that holding has been followed uniformly in the

COVID-19 cases. Contrary to Sharde Harvey’s arguments, federal courts applying New York

law are bound by Appellate Division precedent like Roundabout.

       Third, Sharde Harvey accuses Judge Lehrburger of confusing the concepts of “loss” and

“damage” by treating them as the same. But it is Sharde Harvey that is confused. The report and

recommendation explains clearly (citing Roundabout) that “direct physical loss” refers to

property that goes missing or is stolen, whereas “direct physical damage” refers to property that

has been tangibly harmed. Neither of these concepts can encompass the facts here, involving

mere operational restrictions or economic losses.

       Fourth, Sharde Harvey’s argument that its premises were rendered “uninhabitable” is

inconsistent with its own complaint, which concedes that emergency dental procedures were

performed. Sharde Harvey also concedes that it regularly cleans the premises, which likewise

confirms that premises can be occupied.

       Fifth, Sharde Harvey for the first time argues that it has had to undertake cleaning efforts

that it contends are “significant,” but ignores the broader point that there is a clear difference

between property that requires cleaning (even significant clearing) and property that is damaged

and hence in need of “repair,” as the policy requires. Sharde Harvey has alleged only the former,

and does not even attempt to address the policy’s reference to “repair[ing]” damaged property.

       Sixth, Sharde Harvey’s assertion that the coronavirus was likely present at its offices

should be rejected as speculation but in all events cannot save its claim because any viral



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presence could concededly be cleaned away. In addition, the alleged local presence of the virus

was not the cause of Sharde Harvey’s losses. Its business was slowed by governmental “stay at

home” orders, and the pandemic more generally—factors that would disrupt Sharde Harvey’s

business, irrespective of whether or to what extent viral particles were present at its offices.

       Finally, Sharde Harvey litters its brief with bolded, capitalized descriptions of the policy

as an “all-risk” policy, suggesting that any interruption in its business should trigger coverage.

Not so. The scope of coverage is set forth in the policy itself, and cannot be overridden by

Sharde Harvey’s inaccurate, shorthand label of “all risk.” In fact, the policy covers only certain

property-relates risks, which are not alleged to have occurred here.

       The Court should uphold Judge Lehrburger’s report and recommendation.

                                           DISCUSSION

I.     JUDGE LEHRBURGER’ S REPORT AND RECOMMENDATION IS SUPPORTED
       BY THE UNIFORM WEIGHT OF AUTHORITY IN NEW YORK, AND
       THE OVERWHELMING WEIGHT OF AUTHORITY ACROSS THE COUNTRY

       Judge Lehrburger’s report and recommendation is among fifteen New York cases to have

addressed the question of whether business interruption from the COVID-19 pandemic triggers

insurance coverage for “direct physical loss” or “direct physical damage.” All fifteen have ruled

against coverage. Rye Ridge Corp. v. The Cincinnati Ins. Co., 20 Civ. 7132, 2021 WL 1600475,

at *1 (S.D.N.Y. April 23, 2021); Kim-Chee LLC v. Phil. Indem. Ins. Co., No. 1:20-cv-1136, 2021

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Drive, LLC v. Springhill SMC Corp., No. 4799/2020, 2021 WL 1419049 (N.Y. Sup. Ct. Apr. 13,

2021); Mangia Restaurant Corp. v. Utica First Ins. Co., No. 713847/2020, NYSCEF No. 34

(N.Y. Sup. Ct., Qns. Cnty. March 31, 2021) (available at https://tinyurl.com/26zayedh); Jeffrey

M. Dressel, D.D.S., v. Hartford Ins. Co. of the Midwest, Inc., No. 20-CV-2777, 2021 WL

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;1091711 (E.D.N.Y. Mar. 22, 2021); Food for Thought Caterers Corp. v. Sentinel Ins. Co., 20

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Dec. 29, 2020); 10012 Holdings, Inc. v. Hartford Fire Ins. Co., 20 Civ. 4471, 2020 WL 7360252

(S.D.N.Y. Dec. 15, 2020); Michael Cetta, Inc. v. Admiral Indem. Co., 20 Civ. 4612, 2020 WL

7321405 (S.D.N.Y. Dec. 11, 2020); Social Life Magazine, Inc. v. Sentinel Ins. Co., No. 20 Civ.

3311, 2020 WL 2904834 (S.D.N.Y. May 14, 2020).

       Three key themes underlie both Judge Lehrburger’s report and recommendation, and the

other New York rulings.

       First, because the term “physical” means “pertaining to real, tangible objects,” the

“phrase ‘direct physical loss of or damage to’” property in the policy must be limited to

circumstances where there is “a negative alteration in the tangible condition of property.”

Michael Cetta, 2020 WL 7321405, at *6 (citation omitted). New York courts uniformly have

reached the same conclusion. See 10012 Holdings, 2020 WL 7360252, at *2 (dismissing case

because “[n]othing in the Complaint plausibly supports an inference that COVID-19 and the

resulting Civil Orders physically damaged Plaintiff’s property, regardless of how the public

health response to the virus may have affected business conditions for Plaintiff”); deMoura, 2021

WL 2021 WL 848840, at *6 (concluding that “it is clear that ‘direct physical loss or damage to

property’ requires actual, tangible harm to the property” and dismissing COVID-19 insurance

coverage claim because “Plaintiff has failed to allege that such harm occurred.”); Dressel, 2021



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WL 1091711, at *3 (concluding that “the Policy was clear and unambiguous, and required

coverage only in the event of some physical harm to property, which was not present here”).

Here, no particular item of property on the premises is alleged to have suffered any tangible

damage, and so Judge Lehrburger, citing the ample New York authority above, was correct to

recommend dismissal. 2021 WL 1034259, at *7.

       Second, “[u]nder New York law, it is unambiguous that . . . ‘loss of’ property does not

encompass ‘loss of use’” of that property. Id. at *6. Judge Cronan offered a helpful illustration of

this point: “Say, for example, a teenager broke curfew, and his parents punished him by taking

away the keys to his car. The teen undoubtedly lost the ability to use the car. However, we would

not say that there had been a ‘direct physical loss of or damage to’ the car. The teenager was

precluded from driving it. But the car’s physical condition remained unchanged . . . .” 2020 WL

7321405, at *6; see also Food for Thought, 2021 WL 860345, at *3 (“[C]ourts applying New

York law have consistently concluded that loss of use of an insured’s premises does not trigger

Business Income coverage . . . . ”); Tappo, 2020 WL 7867553, at *4 (“Purely economic loss due

to temporary loss of use, without some sort of actual change in or physical damage to the insured

property, does not suffice.”); 10012 Holdings, 2020 WL 7360252, at *2 (rejecting “loss of use”

theory).

       Precedent pre-dating COVID-19 further confirms that any “loss of use” theory should be

rejected. In Roundabout Theatre Co. v Continental Casualty Co., 751 N.Y.S.2d 4, 8 (1st Dep’t

2002), New York City shut down the entire block where a Broadway theater was located, and the

First Department held that the phrase “direct physical loss” in the theater’s policy did not

encompass the mere “loss of use” of the property, in the absence of actual physical damage to the

theater itself. Id. at 8. The holding in Roundabout is binding in federal court, because there is no



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“persuasive evidence that the New York Court of Appeals . . . would reach a different

conclusion.” See Pahuta v. Massey-Ferguson, Inc., 170 F.3d 125, 134 (2d Cir. 1999). Here,

Judge Lehrburger correctly concluded that Sharde Harvey’s argument that “lost operations or

inability to use the business is sufficient . . . directly contradicts the Roundabout Theater

conclusion that ‘loss of’ does not encompass ‘loss of use.’” 2021 WL 1034259, at *9.

        Roundabout’s holding is also consistent with ordinary English usage. The key insuring

language here— “direct physical loss of . . . property at the ‘scheduled premises’”—describes a

physical event where specific items of property within (or “at”) the premises are lost. (ECF 39-1,

Special Property Coverage Form § A.5.o.(1) (SENT00039).) In this case, if Sharde Harvey had

to suspend operations because, for example, its dental chairs or tools were destroyed or stolen,

there might be a “direct physical loss of . . . property at” the premises. But it would mangle the

English language to say that a governmental order allegedly restricting the dental office’s

operations is a “direct physical loss of . . . property at” the premises.

        Third, the insurance policy in this case, and the other cited cases, includes additional

language confirming the two points above. Specifically, the coverage at issue would apply

through a “period of restoration,” which is defined as the period ending when the property at

issue “should be repaired, rebuilt or replaced with reasonable speed and similar quality” which,

as Judge Lehrburger correctly observed, “contemplate[s] physical damage to the insured

premises.” 2021 WL 1034259, at *7 (emphasis added; citation omitted). See also Michael Cetta,

2020 WL 7321405, at *6 (similar language implies that coverage is triggered only when there is

“material harm that then requires a physical fix” to specific property); deMoura, 2021 WL

848840, at *5 (construing this language to mean that “something must first be physically

damaged” for coverage to be triggered); Visconti, 2021 WL 609851, at *5 (concluding that the



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“repair” language would be rendered “meaningless” if the mere loss of use of a premises were

sufficient to trigger coverage).

       The New York cases described above, and the reasoning behind them, are part of a

broader national trend. In briefing to this Court, Sentinel cited 105 cases concluding that

business interruption from the COVID-19 pandemic did not constitute “direct physical loss” or

“direct physical damage” to property. (ECF 38, at 8-11; ECF 40, at 2-3 n.1; ECF 44, 47, 49), and

there have since been 32 more—for a total of 137. (See Appendix A.)

       Sharde Harvey cites a relatively small number of outlier rulings (see ECF 51-1), all of

which are outside New York, and many of which lack any reasoning (see ECF 51-2, ECF 51-4,

ECF 51-5, ECF 51-6.) These outlier rulings rely on the “loss of use” theory that is flatly contrary

to New York law. Take, for example, the two out-of-state cases that Sharde Harvey quotes at

length in its objections. (ECF 51, at 24).

       •   In In re Society Insurance Co. COVID-19 Business Interruption Protection Insurance

           Litigation, MDL No. 2964, 2021 WL 679109, at *9 (N.D. Ill. Feb. 22, 2021), the

           court concluded that a claim was stated because, as a result of the COVID-19

           pandemic, “the Plaintiffs cannot use (or cannot fully use) the physical space.” Id. at

           *9 (emphasis added)


       •   In Derek Scott Williams PLLC v. Cincinnati Insurance Co., No. 20 C 2806, 2021 WL

           767617 (N.D. Ill. Feb, 28 2021), the court concluded that a “reasonable factfinder

           could find that the term ‘physical loss’ is broad enough to cover . . . a deprivation of

           the use of its business premises.” Id. at *4 (emphasis added)




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       These decisions cannot be squared with Roundabout, which is binding here. See Sharde

Harvey, 2021 WL 1034259, at *11; Food for Thought, 2021 WL 860345, at *4 n.2 (both
                               1
refusing to follow Society).

       Finally, Sharde Harvey’s reliance on Pepsico v .Winterthur Int’l Am. Ins. Co., 806

N.Y.S.2d 709 (2d Dep’t 2005) (cite Obj. 20-21) is misplaced. In Pepsico, faulty raw ingredients

rendered certain Mountain Dew and Diet Pepsi soft drinks “unmerchantable and necessitated

their destruction,” and the question presented was whether this event fell within Pepsico’s

coverage for “all risks of physical loss of or damage to property” (including “personal property”

such as the soft drinks). Pepsico v. Winterthur Int’l Am. Ins. Co., 788 N.Y.S.2d 142, 143 (2d

Dep’t 2004); Pepsico v .Winterthur Int’l Am. Ins, 6 Misc. 3d 1006(A), 2004 WL 3092342, at *1

(N.Y. Sup. Ct. Dec. 10, 2004) (earlier decisions from the same case providing the factual

background and policy language). The Second Department concluded Pepsico’s loss was

covered because a “physical event” occurred that “seriously impaired” the “function” of the soft

drinks, so that they could not be sold. 806 N.Y.S.2d, at 711. The Pepsico case is unhelpful here

because Sharde Harvey does not allege that its losses arose from a “physical event” that damaged

or destroyed any particular property at the premises. Sharde Harvey does not allege, for example,

that it business was suspended because the coronavirus caused its dental tools or dental chairs to

deteriorate to the point of having to be thrown out, like the soft drinks in Pepsico. Sharde Harvey

alleges instead that it was an external event—governmental “stay-at-home” orders—that

1
  Sharde Harvey relies on one California case that purported to apply New York law, and that
concluded a salon had stated a claim for coverage because at “various points during the
pandemic, [the salon] was forced to shutter, rendering its property unusable for its only
purpose—the operation of a business.” Kingray Inc. v. Farmers Group Inc., No. EDCV 20-963,
2021 WL 837622, at *7 (C.D. Cal. Mar. 4, 2021 2021) (cited Obj. 16-17). But the court in
Kingray failed to cite or discuss Roundabout or the six New York cases that at the time had
rejected COVID-19 insurance coverage cases. Kingray’s abbreviated analysis is neither
consistent with New York law, nor persuasive, and the Court should not follow it.

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“precluded Plaintiff from operating their Insured Property in the manner intended.” (Third Am.

Comp., ECF 41 (“TAC”) ¶ 43; see also, § VI, infra (discussing lack of causation).)

        As Judge Engelmayer explained in Newman Myers Kreines Gross Harris, P.C. v. Great

Northern Ins. Co., 17 F. Supp. 3d 323, 330 (S.D.N.Y. 2014), where courts have found physical

damage from matters invisible to the naked eye, such as “water contamination,” there was at

least some “physical change for the worse” at the premises, as opposed to a “forced closure of

the premises for reasons exogenous to the premises themselves,” such as governmental orders.

The Pepsico decision falls squarely in that easily distinguishable line of cases involving losses

that flow from a localized, physical event, and not from external or broader factors. (See ECF 40,

at 7-8 (distinguishing similar cases).) See also Visconti, 2021 WL 609851, at *5 n.2 (dismissing

COVID-19 insurance claims and concluding that “Pepsico does not support [the plaintiff’s]

argument” because the coronavirus did not cause “any physical loss or damage to property” at

the premises) (emphasis in original).

II.     JUDGE LEHRBURGER CORRECTLY APPLIED THE BINDING DECISION IN ROUNDABOUT

        Sharde Harvey argues that the First Department’s decision in Roundabout is not “binding

on this Court” (ECF 51, at 18), and further, that that the operative coverage language in

Roundabout was critically different insofar as it required there to be a loss “to” property instead

of (as here) a loss “of” property (id. at 18-19). Sharde Harvey is flatly wrong as to both points.

        First, the Second Circuit has made clear that all federal courts in New York are “bound

. . . to apply the law as interpreted by New York’s intermediate appellate courts” unless there is

“persuasive evidence that the New York Court of Appeals . . . would reach a different

conclusion.” Pahuta, 170 F.3d at 134. Sharde Harvey does not even attempt to meet this standard

and, hence, Roundabout is binding and must be followed.



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       Second, the key insuring clause in Roundabout covered losses “of” property, just as in

this case. Specifically, the insurance company agreed to cover interruption in the production of

the theater’s shows that was the result of “loss of, damage to or destruction of property” at the

theater. 751 N.Y.S.2d at 5 (emphasis added). The phrase “loss of” appears twelve times in the

opinion, including, critically, in the First Department’s rejection of the argument “that the phrase

‘loss of’ must include ‘loss of use of.’” Id. at 8. Sharde Harvey’s Complaint alleges that it

“suffered direct loss or damage within the definitions of the Policy as loss of use of property as it

was intended to be used, as here, constitutes loss or damage” (TAC ¶ 46 (emphasis added)),

making clear that it is relying on exactly the theory that that the binding decision in Roundabout

rejected.

       Regardless, the difference of one preposition would not save Sharde Harvey. As one

federal court in California explained, the “reliance on the difference between prepositions—‘of’

versus ‘to’”—does not help because, on either phrasing, the concept of “direct physical loss”

cannot possibly encompass “anything that interferes with the permitted physical activities on a

property.” Plan Check Downtown III, LLC v. AmGuard Ins. Co., 485 F. Supp. 3d 1225, 1231-32

(C.D. Cal. 2020).

       Sharde Harvey relies on Judge Birotte’s decision Total Intermodal Services Inc. v.

Travelers Property Cas. Co., CV 17-04908, 2018 WL 3829767 (C.D. Cal. July 11, 2018) for its

“of”-versus-“to” argument (cited Obj., 20), but fails to tell the Court that Judge Birotte,

distinguishing his own prior ruling in Total Intermodal, concluded that COVID-19 business

interruption does not trigger coverage under the same “direct physical loss of” property language

at issue here. Mark’s Engine Company No. 28 Restaurant, LLC v. Travelers Indem. Co., 2:20-cv-

04423, 2020 WL 5938689, at *3 (C.D. Cal. Oct. 2, 2020).



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III.     JUDGE LEHRBURGER DID NOT CONFLATE “PHYSICAL LOSS”
         AND “PHYSICAL DAMAGE”

         Sharde Harvey incorrectly argues that Judge Lehrburger “conflated ‘physical loss of’

with ‘property damage.’” (ECF 51, at 2; see also id. 15-16.) In, fact Judge Lehrburger was clear

that, under Roundabout, the two phrases have distinct meanings:

         Sharde Harvey overlooks, however, the fact that Roundabout Theater directly
         addressed the distinction between “loss of” and “damage to.” In Roundabout
         Theater, the Appellate Division confronted a lower court’s conclusion “that the
         phrase ‘loss of’ must include ‘loss of use of,’ because otherwise ‘loss of’ would
         be redundant to ‘destruction of.’” Roundabout Theatre, 302 A.D.2d at 7, 751
         N.Y.S.2d at 8. The court observed that “loss of” could encompass “theft or
         misplacement.” Id., 751 N.Y.S.2d at 8. As Judge Cronan noted in Michael Cetta,
         “loss of” could also encompass complete destruction of property, “whereas
         ‘damage’ contemplates a lesser injury.” 2020 WL 7321405 at *9.

2021 WL 1034259, at *7. This analysis, which Sharde Harvey completely ignores in its

objections, is exactly right. See also, e.g., Food for Thought, 2021 WL 860345, at *4 (S.D.N.Y.

Mar. 6, 2021) (citing Roundabout to reject the argument that Sentinel’s “interpretation fail[s] to

give the phrase ‘loss of’ a distinct meaning from ‘physical damage’”); DeMoura, 2021 WL

848840, at *6 (explaining that “the phrase ‘physical loss of or damage to property’ in this context

plainly covers two scenarios: one where ‘physical loss’ occurs—which naturally refers to a

situation where the value of the property as a whole ‘disappear[s] or ‘dimin[ishes]’—and one

where ‘damage’ occurs—that is, where the property is harmed but not destroyed’”).

         Further supporting the point are cases that have found the phrase “direct physical loss” to

be triggered in instances where property goes missing, irrespective of whether it can be shown

that the missing property is also damaged in any way. For example, in Rokeach v. Hanover

Insurance Co., No. 1:13-cv-5011-GHW, 2015 WL 2400097, at *3 (S.D.N.Y. May 19, 2015), the

policy covered “direct physical loss of or damage to Covered Property at the premises,” and the

court allowed a welding business to proceed past summary judgment on a claim arising from a


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series of property thefts. Id. at *4. See also, e.g., MGN Logistics, Inc. v. Travelers Property Cas.

Co., No. 16 CV 4301, 2017 WL 3780280, at *4 (N.D. Ill. Aug. 31, 2017) (allowing coverage

under a policy insuring against “direct physical loss” when copper coils went missing in transit).

        Here, Sharde Harvey has not identified any particular item of property that has gone

missing (i.e., that was “lost”) or that was damaged in any way—and hence there is no coverage.

IV.     SHARDE HARVEY’S PREMISES WERE NOT “UNINHABITABLE” OR “UNSAFE”

        Sharde Harvey argues that “the presence of the Coronavirus in the air and on surfaces

makes businesses like the Plaintiff’s uninhabitable, unsafe, and unfit for their normal and

intended uses” (ECF 51, at 9), but that is wrong on both the facts and the law.

        On the facts, any suggestion that the premises were “uninhabitable” or “unsafe” is

contradicted by the Complaint which alleges that Sharde Harvey “performed emergency services

for patients on an emergency as needed basis.” (TAC ¶ 9.) While it may not have been safe for

people to assemble in close proximity, the premises was obviously safe to enter and inhabit.

        The underlying argument that there is a “direct physical loss” when property is

“uninhabitable” traces back to Port Authority v. Affiliated FM Ins. Co., 311 F.3d 226, (3d Cir.

2002). (ECF 42, at 10 (Sharde Harvey citing Port Authority for the proposition “that physical

loss can occur when a property is uninhabitable”).) But that case does not help Sharde Harvey. In

Port Authority, the Third Circuit, applying New York and New Jersey law, held that the “mere

presence of asbestos” was not enough to show “direct physical loss or damage.” 311 F.3d at 236

(citation omitted). Coverage would be triggered only if “an actual release of asbestos fibers” had

“reach[ed] such a level” that the building was “uninhabitable and unusable.” Id. Two weeks after

the Third Circuit decided Port Authority, the First Department issued Roundabout, squarely

rejecting recovery for “loss of use”—and hence undermined any further reliance on Port

Authority in New York.
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       Regardless, as Judge Cronan observed, Port Authority only “bolsters [the] argument for

dismissal” where, as here, the COVID-19 pandemic merely restricted the operations of a

business but did not render a property completely uninhabitable. Michael Cetta, 2020 WL

7321405, at *10; see also Brian Handel D.M.D., P.C. v. Allstate Ins. Co., No. 20-3198, 2020 WL

6545893, at *3 (E.D. Pa. Nov. 6 2020) (dismissing COVID-19 case based on the Port Authority

standard because “plaintiff's property remained inhabitable and usable, albeit in limited ways”).

       The remainder of Sharde Harvey’s argument—that its business premises was “unfit for

[its] normal and intended uses” (ECF 51, at 9)—is legally flawed because it boils down to

precisely the “loss of use” argument that Roundabout and other New York courts have

consistently rejected.

V.     SHARDE HARVEY’S NEW ARGUMENT ABOUT “SIGNIFICANT” CLEANING EFFORTS
       IS BOTH WAIVED AND INCORRECT

       Citing various studies and news articles, Sharde Harvey argues that the “measures that

must be taken to remove the Coronavirus from property are significant,” which supposedly

means that the virus causes property damage. (ECF 51, at 9-10.) At the outset, neither these

sources nor this argument were raised in the briefing on the motion to dismiss, and so should be

rejected out of hand. “[N]ew arguments and factual assertions cannot properly be raised for the

first time in objections to the report and recommendation, and indeed may not be deemed

objections at all.” Razzoli v. Fed. Bureau of Prisons, No. 12 Civ. 3774, 2014 WL 2440771, at *5

(S.D.N.Y. May 30, 2014).

       Regardless, the Complaint concedes the simple fact that cleaning is effective against the

virus, and can even “eradicate” it. For example, the Complaint alleges:

       •   “It is clear that contamination of the Insured Property is a direct physical loss

           requiring remediation to clean the surfaces of the Insured Property.” (TAC ¶ 52.)


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       •    “The CDC has said that the best way to prevent illness is to avoid being exposed to

           this virus and that steps can be taken to slow its spread: . . . . Routinely clean and

           disinfect frequently touched surfaces.” (Id. ¶ 61.)


       •   “[T]he requisite contact and interaction [involved in Sharde Harvey’s business]

           causes a heightened risk of the property becoming contaminated and required

           constant sanitation and cleaning to avoid spread of COVID-19.” (Id. ¶ 75.)


       •    “To eradicate any Coronavirus that was present in the facility, Plaintiff regularly

           cleaned and sanitized the dental.” (Id. ¶ 83.)


       Similarly, the Complaint concedes that he virus can survive on surfaces (i.e., outside a

human host) only for a matter of hours or days. (Id. ¶ 53.) 2

       Whether or not the cleaning efforts are considered modest or (as Sharde Harvey now

contends) “significant” does not change the fact that, under New York law “an item or structure

that merely needs to be cleaned has not suffered a ‘loss’ which is both ‘direct’ and ‘physical.’”

Food for Thought, 2021 WL 860345, at *5 (citation omitted); see also Sharde Harvey, 2021 WL

1034259, at *9 (same); Tappo of Buffalo, 2020 WL 7867553, at *4 (same); Visconti, 2021 WL

609851 (applying New York law and concluding that “even if Covid-19 were found at Visconti’s

premises, it would not constitute the direct, physical loss or damage required to trigger coverage

2
  These concessions are consistent with published guidance from the Centers for Disease Control
and Transmission that (1) that the risk of surface transmission is “generally less than 1 in
10,000”; (2) that “cleaning with soap or detergent should be enough to further reduce the
relatively low transmission risk”; and (3) that “99% reduction in infectious SARS-CoV-2 and
other coronaviruses can be expected under typical indoor environmental conditions within 3
days.” See, e.g., Centers for Disease Control and Prevention, Science Brief: SARS-CoV-2 and
Surface (Fomite) Transmission for Indoor Community Environments (April 5, 2021),
https://www.cdc.gov/coronavirus/2019-ncov/more/science-and-research/surface-
transmission.html.

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because its presence can be eliminated by routine cleaning and disinfecting”). In addition,

because the coronavirus can only survive on surfaces for a limited period, any alleged physical

presence would be “short-lived” and “could not constitute ‘physical damage to property’ under

the plain language of the Policy.” Dressel, 2021 WL 1091711, at *4.

       Sharde Harvey wrongly focuses on the alleged difficulty of cleaning when the more

fundamental point is that, even where “[v]irus particles may have circulated in the air within the

insured premises and settled on the exposed surfaces,” those particles “do not alter the

characteristics of the covered property in any way except that their presence creates a health risk

for humans who enter the premises.” Kim-Chee LLC, 2021 WL 1600831, at *4. In those

circumstances, the “building itself remains unharmed by the virus and would be safe for

occupancy except for the arrival of people who bring new sources of infection.” Id. Far from

being “damaged” or “lost,” the property at the premises remains “intact and available for use

once the human occupants no longer present a health risk to one another.” Id. at *6.

       These conclusions accord with ordinary English usage. One would hardly consider

property to be “damaged” or somehow “lost” if the underlying problem could be remedied with

disinfectants. But property that has been tangibly altered or destroyed is, by contrast, naturally

described as damaged or lost. Courts across the country have agreed with this basic point. 3



3
 See, e.g., Unmasked Mgmt., Inc. v. Century-Nat’l Ins. Co., No. 3:20-cv-01129, 2021 WL
242979, at *6 (S.D. Cal. Jan. 22, 2021) (concluding that the presence of the virus “could not
have ‘damaged’ Plaintiffs’ property” because “disinfectant and other cleaning methods can be
used to remove or lessen the virus from surfaces”); Uncork and Create LLC v. Cincinnati Ins.
Co., No. 2:20-cv-00401, 2020 WL 6436948, at *5 (S.D. W.Va. Nov. 2, 2020) (“[E]ven when
present, COVID-19 does not threaten the inanimate structures covered by property insurance
policies, and its presence on surfaces can be eliminated with disinfectant.”); Promotional
Headwear, 2020 WL 7078735, at *8 (“[E]ven assuming that the virus physically attached to
covered property, it did not constitute the direct, physical loss or damage required to trigger
coverage because its presence can be eliminated . . . [by] routine cleaning and disinfecting.”).

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VI.     THE ALLEGED PHYSICAL PRESENCE OF THE VIRUS ON SITE IS IRRELEVANT

        Sharde Harvey argues that, because certain of its patients became sick, the coronavirus

must have been present at its property—and hence caused physical damage. (ECF 51, at 3-4.)

This is incorrect for three reasons.

        First, even under the lenient standard of review for a motion to dismiss, the Court must

“draw on its judicial experience and common sense” to determine if the complaint’s allegations

state a “plausible” claim, based on “reasonable inference[s]” from the facts. Ashcroft v. Iqbal,

556 U.S. 662, 678-69 (2009). Here, Sharde Harvey’s speculation that, because an unspecified

number of patients became sick at an unspecified time, the virus must have been present on site

(TAC ¶ 80) is exactly the sort of unreasonable inference courts have correctly refused to credit in

other COVID-19 cases. See, e.g., Cafe Plaza De Mesilla Inc. v. Continental Cas. Co., No. 2:20-

cv-354, 2021 WL 601880, at *6 (D.N.M. Feb. 16, 2021) (rejecting “Plaintiff's conclusory

argument that the widespread existence of the virus locally necessarily makes it ‘reasonable’ to

infer that the virus was present on the premises”); Roy H. Johnson, DDS v. Hartford Fin. Servs.

Grp., Inc., No. 1:20-cv-02000, 2021 WL 37573 (N.D. Ga. Jan. 4, 2021) (rejecting plaintiff’s

allegation that “COVID-19 must have somehow found its way into the office” as based on

“conjecture and speculation”); Promotional Headwear, 2020 WL 7078735, *8 (reasoning that

accepting “conclusory assertion” about the presence of the virus “would be to accept the

proposition that any business located in a community with COVID-19 infections was likely

contaminated with the virus”).

        Second, as discussed, the policy’s references to “physical” loss or damage, and to the

“period of restoration,” encompass only tangible changes in property that would require repair,

as opposed to mere cleaning.



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       Third, even if Sharde Harvey plausibly alleged the virus was present at its dental office

and that the presence caused “physical” loss or damage, that allegation would still not suffice.

The cause of Sharde Harvey’s losses for which it seeks coverage was not localized viral presence

but something else—namely, the virus outbreak, and efforts to slow its spread. The governmental

orders here did not focus on localized property damage but restricted the operations of

businesses, irrespective of whether any particular business had extensive viral contamination or

none at all. Executive Order, 9 NYCRR 8.202.8 (Mar. 20, 2020).

       The court’s decision in Schlamm Stone & Dolan, LLP v. Seneca Ins. Co., No.

603009/2002, 6 Misc. 3d 1037(A), 2005 WL 600021 (N.Y. Sup. Ct. Mar. 04, 2005) is instructive

to this point. There, a law firm was denied business interruption coverage for the period

immediately following the September 11, 2001 terrorist attacks—despite alleging that “dust and

other particles” made it “difficult to remain in the offices”—because those dust particles were

not the cause of its alleged losses. Id. at *1. All of Lower Manhattan was closed because of the

attacks, not because of any particular damage at the firm’s offices. Id. Judge Lehrburger

correctly found Schlamm Stone instructive because there, as here, “the direct cause of [the

plaintiff’s] business interruption was the shutdown order, not property damage.” 2021 WL

1034259, at *10.

       This is yet another rationale adopted by courts across the country in denying similar

COVID-19 insurance claims. For example, a federal court in Pennsylvania denied the claims of a

restaurant and bar because its “losses were caused by the Shutdown Orders . . . , not some

speculative, unprovable physical damage or unknown condition of the property.” Whiskey Flats,

Inc. v. Axis Ins. Co., No. 20-3451, 2021 WL 534471, at *4 (E.D. Pa. Feb. 12, 2021). The court

reached that conclusion because, as here, the plaintiff “was required to comply with the



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Shutdown Orders regardless of the presence or absence of the coronavirus on its property.” Id.

Accordingly, moving forward with “post hoc discovery” about whether or to what extent the

virus was present would be pointless, as it “would not change the cause of the Plaintiff's income

losses.” Id. Another court explained the point as follows, rejecting the claims of a restaurant

because it was not the restaurant’s property that had changed but the “world around it”:

         [T]he key difference between the Plaintiff's loss of use theory and something
         clearly covered—like a hurricane—is that the property did not change. The world
         around it did. And for the property to be useable again, no repair or change can be
         made to the property—the world must change. Even if a cleaning crew Lysol-ed
         every inch of the restaurant, it could still not host indoor dining at full capacity.
         Put simply, Plaintiff seeks to recover from economic losses caused by something
         physical—not physical losses. These facts are more akin to a zoning change, loss
         of liquor license, or Miami Hurricanes championship parade blocking Red
         Road—intangible business operations are affected, but the physical structure
         remains the same . . . .

Town Kitchen LLC v. Certain Underwriters at Lloyd’s, London, No. 20-22832, 2021 WL

768273, at *5 (S.D. Fla. Feb. 26, 2021). 4 Here, too, Sharde Harvey has not pleaded that it is

seeking recovery for any “physical losses,” and so Judge Lehrburger was correct to urge

dismissal.

VII.     LABELING THE POLICY “ALL-RISK” DOES NOT ALTER THE CONTRACT TERMS

         Sharde Harvey’s objections are replete with references to the insurance policy as an “all-

risk” policy, and at one point Sharde Harvey states that it bought its “all risk” policy “to help it

weather any financial business income losses it might suffer in the event the dental practice was

closed or required to be closed.” (ECF 51, at 1, 2, 14, 16, 18, 19, 20.) But the policy simply does

4
  See also, e.g., Circus Circus LV, LP v. AIG Specialty Ins. Co., No. 2:20-cv-01240, 2021 WL
769660, at *4 (D. Nev. Feb. 26, 2021) (no coverage where a casino “temporarily shut down not
because COVID-19 damaged its or its neighbors’ property, but because it was ordered to do so
by the governor”); Torgerson Properties, Inc. v. Cont’l Cas. Co., No. 20-2184, 2021 WL
615416, at *2 (D. Minn. Feb. 17, 2021) (“[I]t is not the presence of the virus on the premises that
closed [the plaintiff’s] properties (or caused people to stop visiting those properties), but rather
the executive orders meant to slow the virus’s spread.”).

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not say that it provides coverage for every occasion when “the dental practice was closed or

required to be closed.”

       As Judge Lehrburger correctly found, this “all risk” argument is an “inaccurate”

description of the policy because “the types of losses covered by the policy are limited by,

among other things, the phrase ‘direct physical loss of or damage to’” property at the premises.

2021 WL 1034259, at *12 n.13. On this point, too, courts in New York and across the country

have agreed. Dressel, 2021 WL 1091711, at *4 (rejecting argument that “all risk” policy covers

“losses caused by any fortuitous peril” because the “argument “dramatically overstates the scope

of coverage” and ignores the necessary nexus to “property damage”); Real Hospitality, LLC v.

Travelers Cas. Ins. Co. of Am., No. 2:20-cv-00087, 2020 WL 6503405, at *5 n.9 (S.D. Miss.

Nov. 4, 2020) (dismissing COVID-19 insurance claim and explaining: “One does not buy simply

‘business interruption insurance.’ Policyholders are not insuring against ‘all risks’ to their

income—they are insuring against ‘all risks’ to their property—that is, the building and its

contents.”); Emerald Coast Rests., Inc. v. Aspen Specialty Ins. Co., No. 3:20cv5898-TKW-HTC,

2020 WL 7889061, at *1 (N.D. Fla. Dec. 18, 2020) (“[A]n ‘all risk’ policy is not an ‘all loss’

policy, and thus does not extend coverage for every conceivable loss).

                                          CONCLUSION

       For the foregoing reasons and others appearing on the record, the Court should uphold

Judge Lehrburger’s report and recommendation, and should dismiss Sharde Harvey’s Third

Amended Complaint in its entirety with prejudice.




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Dated: April 29, 2021                       Respectfully submitted,

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                                       APPENDIX A

           Chart of Additional Federal Cases Concluding That Business Interruption
          from the COVID-19 Pandemic, and from Associated Governmental Orders,
                         Does Not Constitute “Direct Physical Loss”

No.    Date/Court    Plaintiff Type   Illustrative Quote / Citation
1      4/26/21,      Restaurant       In this case, Muriel's does not allege any physical
       E.D. La.                       loss that manifested as a demonstrable physical
                                      alteration of the premises. . . . [T]he Court finds
                                      that Muriel’s does not sufficiently allege direct
                                      physical loss to the covered property.” Muriel’s
                                      New Orleans, LLC v. State Farm Fire & Cas. Co.,
                                      No. 20-2295, 2021 WL 1614812, at *7 (E.D. La.
                                      Apr. 26, 2021)
2      4/23/21,      Martial Arts     “[T]he Complaint alleges that the virus has become
       W.D.N.Y.      Business         widespread and that governmental orders in New
                                      York State have led to business closures by sharply
                                      reducing occupancy. This claim—which can
                                      hardly be contested—falls short of the
                                      requirements of a direct physical loss or damage to
                                      the premises.” Kim-Chee LLC v. Phila. Indem. Ins.
                                      Co., No. 1:20-cv-1136, 2021 WL 1600831, at *6
                                      (W.D.N.Y. Apr. 23, 2021)
3      4/23/21,      Restaurant       “The Complaint alleges that COVID-19 caused a
       S.D.N.Y.                       ‘direct physical loss’ of Plaintiffs’ business
                                      premises, thus triggering the Policies’ Business
                                      Income coverage. The Complaint fails to state a
                                      claim because, despite this conclusory allegation,
                                      the Complaint pleads no facts to suggest that there
                                      was a ‘physical loss or accidental physical
                                      damage’ to the insured property as the Policies
                                      require.” Rye Ridge Corp. v. The Cincinnati Ins.
                                      Co., 20 Civ. 7132, 2021 WL 1600475, at *2
                                      (S.D.N.Y. April 23, 2021)
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No.    Date/Court   Plaintiff Type   Illustrative Quote / Citation
4      4/20/21,     Spice & Tea      “[T]he Court finds that ‘direct physical loss’
       E.D. Tex.    Room             requires a distinct, structural alteration to Aggie
                    Operator         Investments’ commercial property. Aggie
                                     Investments does not allege this occurred. . . .
                                     Aggie Investments complains that government
                                     orders restricted access to its property. But loss of
                                     access, or even restricted access, is not the tangible
                                     alteration of structures that ‘direct physical loss’
                                     contemplates.” Aggie Investments, LLC v. Cont’l
                                     Cas. Co., No. 4:21-CV-0013, 2021 WL 1550479,
                                     at *4 (E.D. Tex. Apr. 20, 2021)
5      4/14/21,     Vehicle          “[T]his Court is unpersuaded that the COVID-19
       D. Md.       Auction          virus in some way physically altered Bel Air’s
                    Facility         covered properties or the surrounding areas in a
                                     manner that triggers coverage under the plain
                                     language of the Policy. A mere loss of use of
                                     property is not ‘physical damage’ within the
                                     meaning of Maryland law.” Bel Air Auto Auction,
                                     Inc. v. Great N. Ins. Co., No. RDB-20-2892, 2021
                                     WL 1400891, at *12 (D. Md. Apr. 14, 2021)
6      4/12/21,     Production       “In order to trigger coverage under a commercial
       W.D. Tex.    Design           property policy, ‘physical loss’ requires some
                    Company          ‘distinct, demonstrable, physical alteration of the
                                     property,’ not a merely economic losses.” Ilios
                                     Prod. Design, LLC v. Cincinnati Ins. Co., No.
                                     1:20-CV-857-LY, 2021 WL 1381148, at *5 (W.D.
                                     Tex. Apr. 12, 2021)
7      4/9/21,      Gym              “[T]he plain meaning of the terms ‘direct physical
       S.D. Fla.                     loss of or damage to property’ unambiguously
                                     requires actual, tangible damage to the physical
                                     premises itself, not merely economic losses
                                     unaccompanied by a demonstrable physical
                                     alteration to the premises itself.” PF Sunset View,
                                     LLC v. Atl. Spec. Ins. Co., No. 20-81224-CIV-
                                     CANNON/Brannon, 2021 WL 1341602, at *2
                                     (S.D. Fla. Apr. 9, 2021)




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No.    Date/Court   Plaintiff Type   Illustrative Quote / Citation
8      4/9/21,      Restaurant &     “Here, the Policy provisions on which Caribe
       C.D. Cal.    Nightclub        relies clearly condition recovery on physical loss
                                     or damage to the insured premises. But Caribe
                                     alleges only that COVID-19 restrictions have
                                     prevented it from using its property for normal
                                     business operations, which does not suffice.
                                     Nowhere in the FAC does Caribe sufficiently
                                     allege direct physical loss or damage such as
                                     would trigger coverage. Therefore, just as in the
                                     cases discussed above, Caribe's failure to allege
                                     direct physical loss or damage forecloses its claim
                                     to coverage under the Policy.” Caribe Rest. &
                                     Nightclub, Inc. v. Topa Ins. Co., No. 2:20-cv-3570-
                                     ODW (MRWx), 2021 WL 1338439, at *3 (C.D.
                                     Cal. Apr. 9, 2021)
9      4/8/21,      Hotel Operator The Policy makes clear that there must be some
       E.D. Pa.                    sort of physical damage to the property that is the
                                   subject of a repair, rebuilding, or replacing. The
                                   effects of the COVID-19 pandemic on Plaintiffs do
                                   not fall within that definition, as the presence or
                                   threatened presence of the coronavirus on the
                                   property can be largely remediated by mask
                                   wearing, social distancing, and disinfecting
                                   surfaces.” SSN Hotel Mgmt., LLC v. Harford Mut.
                                   Ins. Co., No. 20-6228, 2021 WL 1339993, at *5
                                   (E.D. Pa. Apr. 8, 2021)
10     4/7/21,      Restaurant       “The COVID-19 virus does not impact the
       D. Mass.     Operator         structural integrity of property in a manner
                                     contemplated by the Policy and thus cannot
                                     constitute ‘direct physical loss of or damage to’
                                     property. A virus is incapable of damaging
                                     physical structures because the virus harms human
                                     beings, not property.” Select Hosp., LLC v.
                                     Strathmore Ins. Co., No. CV 20-11414-NMG,
                                     2021 WL 1293407, at *3 (D. Mass. Apr. 7, 2021)
                                     (internal citations omitted)
11     4/2/21,      Restaurant       “[T]he Court grants Defendant's motion with
       S.D. Cal.    Operator         respect to Plaintiffs’ breach of contract claim
                                     because Plaintiffs fail to allege the requisite
                                     ‘distinct, demonstrable, physical alteration’ to their
                                     property. Islands Restaurants, LP v. Affiliated FM
                                     Ins. Co., No. 3:20-cv-02018-H-JLB, 2021 WL
                                     1238872, at *5 (S.D. Cal. Apr. 2, 2021)


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No.    Date/Court   Plaintiff Type   Illustrative Quote / Citation
12     4/1/21,      Retail            “[W]here an insurance policy conditions recovery
       C.D. Cal.    Operator         on ‘direct physical loss or damage,’ economic
                                     business impairments caused by COVID-19 safety
                                     orders do not fall within the scope of coverage.”
                                     Motiv Grp., Inc. v. Cont’l Cas. Co., No. 2:20-cv-
                                     9368-ODW (Ex), 2021 WL 1240779, at *4 (C.D.
                                     Cal. Apr. 1, 2021)
13     3/31/21,     Dentist          “As for ‘physical loss of or damage to’ property,
       E.D. Pa.                      the loss or damage must be physical; pure
                                     economic losses are intangible and do not
                                     constitute property damage. The use of the word
                                     ‘physical’ unambiguously means there must be
                                     tangible destruction of some part of the property.”
                                     Eric R. Shantzer, DDS v. Travelers Cas. Ins. Co. of
                                     Am., No. CV 20-2093, 2021 WL 1209845, at *4
                                     (E.D. Pa. Mar. 31, 2021)
14     3/31/21,     Medical          “There was no physical loss or damage to Glat’s or
       E.D. Pa.     Practice         others’ properties alleged in the amended
                                     complaint. Thus, because it has not alleged facts
                                     showing ‘a direct physical loss of or damage to’ its
                                     own or others’ properties, Glat has not established
                                     coverage under the civil authority, business income
                                     or extra expenses provisions.” Paul Glat MD, P.C.
                                     v. Nationwide Mut. Ins. Co., No. CV 20-5271,
                                     2021 WL 1210000, at *6 (E.D. Pa. Mar. 31, 2021)
15     3/30/21,     Wine Bar &       “While there is no dispute that Plaintiffs here have
       E.D. Pa.     Tap Room         been precluded from fully using the insured
                    Operator         premises by the government closure orders, the
                                     Complaint does not allege that any physical force
                                     has rendered the premises unusable or otherwise
                                     affected the condition of the property. Thus,
                                     Plaintiffs’ Complaint fails to allege a ‘direct
                                     physical loss of’ the insured property, and fails to
                                     trigger coverage under the Policies’ Business
                                     Income and Extra Expense provisions.” Tria WS
                                     LLC v. Am. Auto. Ins. Co., No. 20-4159, 2021 WL
                                     1193370, at *4 (E.D. Pa. Mar. 30, 2021)




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No.    Date/Court   Plaintiff Type   Illustrative Quote / Citation
16     3/30/21,     Eyewear          “Read in context, the textual combination of the
       S.D. Fla.    Retailer         Policy's affirmative grant of coverage—‘direct
                                     physical loss to Covered Property’—
                                     unambiguously requires actual tangible damage to
                                     the physical premises itself, not merely a claim that
                                     the property as a business has suffered adverse
                                     economic consequences or impact related to use of
                                     the property.” Royal Palm Optical, Inc. v. State
                                     Farm Mut. Auto. Ins. Co., No. 20-80749-CIV,
                                     2021 WL 1220750, at *5 (S.D. Fla. Mar. 30, 2021)
17     3/30/21,     Sports Arena     “The explicit terms of the relevant policies require
       E.D. Pa.                      a ‘direct physical loss’ by virtue of the definitions
                                     for ‘Covered Cause of Loss’ and ‘Loss.’
                                     Government orders in response to a virus simply
                                     do not fit this physicality requirement.” Chester
                                     Cnty. Sports Arena, et al. v. Cincinnati Spec.
                                     Underwriters Ins. Co., No. 20-2021, 2021 WL
                                     1200444, at *7 (E.D. Pa. Mar. 30, 2021)
18     3/29/21,     Restaurant and “The Policy makes clear that there must be some
       E.D. Pa      Bar            sort of physical damage to the property that is the
                                   subject of a repair, rebuilding, or replacing. The
                                   effects of the COVID-19 pandemic on Plaintiff do
                                   not fall within that definition, as the presence or
                                   threatened presence of the coronavirus on the
                                   property can be largely remediated by mask
                                   wearing, social distancing, and disinfecting
                                   surfaces.” J.B.’s Variety Inc. v. Axis Ins. Co, No.
                                   CV 20-4571, 2021 WL 1174917, at *4 (E.D. Pa.
                                   Mar. 29, 2021)
19     3/26/21,     Event Planner    “Here, the Policy clearly conditions recovery on
       C.D. Cal.                     physical loss of or damage to the insured premises.
                                     Sky Flowers alleges only loss of use of the
                                     property due to the government’s response to
                                     COVID-19, which does not amount to direct
                                     physical damage.” Sky Flowers, Inc. v. Hiscox Ins.
                                     Co., Inc., No. 2:20-cv-05411-ODW (MAAx), 2021
                                     WL 1164473, at *3 (C.D. Cal. Mar. 26, 2021)




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No.    Date/Court   Plaintiff Type   Illustrative Quote / Citation
20     3/26/21,     Childcare        “[Plaintiffs] must allege that COVID-19 caused a
       E.D. Wis.    Center           direct material, tangible, corporeal, or perceptible,
                    Operator         loss of or damage to their covered premises. The
                                     Court finds that Plaintiffs have not sufficiently
                                     pleaded relevant facts supporting such
                                     allegations.” Paradigm Care & Enrichment Ctr.,
                                     LLC v. W. Bend Mut. Ins. Co., No. 20-CV-720-
                                     JPS, 2021 WL 1169565, at *7 (E.D. Wis. Mar. 26,
                                     2021)
21     3/25/21,     Restaurant       “[T]he plaintiffs do not plausibly plead a claim for
       N.D. Cal.    Owner            coverage of their business losses and expenses
                                     because no physical loss of or damage to the
                                     restaurant caused the suspension of their business.
                                     Instead, the losses resulted from the closure
                                     orders.” Baker v. Oregon Mut. Ins. Co., No. 20-
                                     CV-05467-LB, 2021 WL 1145882, at *5 (N.D.
                                     Cal. Mar. 25, 2021)
22     3/23/21,     Restaurant       “The Covid-19 virus does not cause ‘direct
       S.D. Ill.    Operator         physical loss or damage to’ covered property under
                                     a business income loss policy.” Zajas, Inc. v.
                                     Badger Mut. Ins. Co., No. 20-CV-1055-DWD,
                                     2021 WL 1102403, at *3 (S.D. Ill. Mar. 23, 2021)
23     3/23/21,     Bridal Shop      “Construing the allegations in the Amended
       N.D. Ohio                     Complaint in Bridal Expressions’s favor, the court
                                     finds that Bridal Expressions fails to allege
                                     plausible facts to support its claim that the
                                     presence of COVID-19 and the loss of the intended
                                     use of the property constitute a ‘direct physical
                                     loss of or damage to property.’” Bridal
                                     Expressions LLC v. Owners Ins. Co., No. 1:20 CV
                                     833, 2021 WL 1232399, at *6 (N.D. Ohio Mar. 23,
                                     2021)
24     3/22/21,     Dentist          “[T]he court finds that Plaintiff cannot plausibly
       E.D.N.Y.                      state a claim for relief based on its loss of business
                                     income as a result of the COVID-19 pandemic.
                                     Though the pandemic has been a devastating event
                                     for Plaintiff's business and many other businesses,
                                     the business interruption was not caused by a
                                     physical loss of or physical damage to property.”
                                     Jeffrey M. Dressel, D.D.S., v. Hartford Ins. Co. of
                                     the Midwest, Inc., No. 20-CV-2777, 2021 WL
                                     1091711, at *5 (E.D.N.Y. Mar. 22, 2021)



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No.    Date/Court   Plaintiff Type   Illustrative Quote / Citation
25     3/22/21,     Restaurant       “Pane Rustica has alleged only economic damage,
       M.D. Fla.    Operator         not physical damage; consequently, its claim is not
                                     covered.” Pane Rustica, Inc. v. Greenwich Ins.
                                     Co., No. 8:20-cv-1783-KKM-AAS, 2021 WL
                                     1087219, at *3 (M.D. Fla. Mar. 22, 2021)
26     3/19/21,     Winery           “St. Julian has not alleged a tangible, physical loss
       W.D. Mich.                    or damage. The coronavirus has not physically
                                     altered any property, and St. Julian does not
                                     plausibly allege that its property became unusable.
                                     Thus, St. Julian did not suffer a ‘loss’ as defined
                                     by the Policy.” St. Julian Wine Co., Inc. v.
                                     Cincinnati Ins. Co., No. 1:20-cv-374, 2021 WL
                                     1049875, at *3 (W.D. Mich. Mar. 19, 2021)
27     3/19/21,     Restaurant       “Since the Policy requires physical loss or damage,
       N.D. Cal.    Management       and Plaintiffs’ claims do not constitute physical
                    Company          loss or damage as a matter of law, Plaintiffs cannot
                                     state a valid claim for relief.” Out West Rest. Grp.
                                     v. Affiliated FM Ins. Co., No. 20-cv-06786-TSH,
                                     2021 WL 1056627, at *4 (N.D. Cal. Mar. 19,
                                     2021)
28     3/18/21,     Dentist          “‘[P]hysical loss’ would apply to property
       W.D. Ky.                      destroyed by some force, contrasted with ‘physical
                                     damage’ which would cover a lesser extent of
                                     harm short of destruction or ruin. Thus, the policy
                                     would extend to the continuum of harm from total
                                     (loss) to partial (damage) resulting in alteration to
                                     an insured property. . . . Accordingly, the Court
                                     will dismiss BOHC’s claims.” Bluegrass Oral
                                     Health Ctr., PLLC v. Cincinnati Ins. Co., No. 1:20-
                                     CV-00120-GNS, 2021 WL 1069038, at *5 (W.D.
                                     Ky. Mar. 18, 2021)




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No.    Date/Court   Plaintiff Type   Illustrative Quote / Citation
29     3/18/21,     Dentist          “Under New York law, it is unambiguous that (1)
       S.D.N.Y.                      ‘loss of’ property does not encompass ‘loss of use’
                                     of that property; and (2) insurance provisions that
                                     cover business interruption ‘caused by direct
                                     physical loss of or physical damage to property’
                                     provide coverage only where the insured's property
                                     suffers direct physical damage. The COVID-19
                                     pandemic and shutdown orders may have created a
                                     ‘loss of use’ of property, but – as explained in
                                     greater detail below – they did not cause ‘physical
                                     damage to property,’ requiring dismissal here.”
                                     Sharde Harvey DDS v. Hartford Fin. Servs. Grp.
                                     Inc., No. 20-cv-03350, 2020 WL 1034259, at *6
                                     (S.D.N.Y. March 18, 2021)
30     3/18/21,     Hospital         “Here, Windber lost the use of its property because
       W.D. Pa.                      of the Orders enacted by Governor Wolf. Further,
                                     there is no allegation that Windber's property was
                                     uninhabitable. . . . [B]ecause the claimed loss is not
                                     related to the physical condition of the property,
                                     the Court finds that Windber is not entitled to
                                     coverage under the Business Income or Extra
                                     Expense provisions of the Policy.” Windber Hosp.
                                     v. Travelers Prop. Cas. Co. of Am., No. 3:20-cv-
                                     80, 2021 WL 1061849, at *5 (W.D. Pa. Mar. 18,
                                     2021)
31     3/16/21,     Florist          “Because Bachman’s has failed to allege any
       D. Minn.                      structural damage to the property, or that the
                                     property has been contaminated or otherwise
                                     injured, the Court finds that the Policy does not
                                     provide coverage for the business interruption
                                     losses claimed by Bachman’s when the State of
                                     Minnesota issued closure orders because of
                                     COVID-19.” Bachman’s Inc. v. Florists’ Mut. Ins.
                                     Co., No. 20-2399 (MJD/DTS), 2021 WL 981246,
                                     at *5 (D. Minn. Mar. 16, 2021)




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No.    Date/Court   Plaintiff Type   Illustrative Quote / Citation
32     3/15/21,     Restaurants      “Because COVID-19 never actually caused
       E.D. Tex.                     physical damage or loss to any of Selery's
                                     property, the claim does not come within the
                                     Business Income provision's coverage.
                                     Government measures, not any tangible damage,
                                     caused a suspension of Selery's business
                                     operations. So, the provision is inapplicable.”
                                     Selery Fulfillment, Inc. v. Colony Ins. Co., No.
                                     4:20-cv-853, 2021 WL 963742, at *7 (E.D. Tex.
                                     Mar. 15, 2021)




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